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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,                     )
                                           )
         Plaintiffs,                       )
                                           )      CIVIL ACTION NO.
         v.                                )       2:14cv601-MHT
                                           )            (WO)
JEFFERSON S. DUNN, in his                  )
official capacity as                       )
Commissioner of                            )
the Alabama Department of                  )
Corrections, et al.,                       )
                                           )
         Defendants.                       )

                                     ORDER

       It has come to the court’s attention that the court

reporter was regrettably and inadvertently not present

for     the    conference     call    on       September   17,    2020,       and

therefore there is neither a recording nor a transcript

of    the     call.     The   court    must       now   determine       how   to

reconstruct the record of the call so that it may be

preserved       for    current     reference        and    for    any    later

proceedings before this court or on appeal.                      In light of

the fact that the call consisted mainly of the parties’

arguments, with no sworn testimony offered, the court
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believes that the best way to proceed is for each of the

parties to submit a summary memorializing the arguments

they made during the call regarding each of the topics

discussed.     These topics are:

    (1) The      status      of    the     inpatient      remedy         and

segregation-like issues;

    (2) Clarification of the defendants’ concerns about

the remedial stipulations due to COVID-19;

    (3) Clarification of which orders or provisions the

defendants have moved to terminate;

    (4) The       defendants’       position       on    whether         the

long-term     suicide-prevention         order     and    stipulations

(doc. nos. 2699 & 2699-1) are currently terminable; and

    (5) Explanation from the plaintiffs of whether they

believe the defendants have failed to comply with any of

the court’s orders or the parties’ stipulations outside

the context of suicide-prevention;

    (6) The defendants’ response to the court’s order

(doc. no. 2960) for clarification of the “duplicative,

inconsistent,      and/or      moot”     category,       whether         the


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defendants’ response complied with the order, and the

timeline for the plaintiffs’ response.

       If the court has overlooked any topic discussed

during the call, the parties are free to include it in

their written summaries.

       The court believes that the only issue that was

decided during the conference call was that the scheduled

hearings on the inpatient treatment and segregation-like

issues      would    be    continued        pending    consideration        and

resolution of the motion to terminate.                    The court does

not     believe     that    there     was     any     objection   to    this

proposal, but if the court is mistaken, the parties

should so indicate in their filings.

                                  ***

       Accordingly, it is ORDERED that:

       (1) The parties are each to file a summary recounting

their recollection of what they each said during the

September 17 conference call regarding each of the issues

set forth above. The parties are also to indicate whether

they have any objection to the hearings on the inpatient


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treatment and segregation-like issues being continued

generally.

    (2) These summaries are due on September 21, 2020,

at 9:00 a.m.

    (3) Each of the parties may also file a response and

supplement to their recollection after these summaries

are filed.       Any response to the summaries is due on

September 23, 2020, at 9:00 a.m.

      DONE, this the 18th of September, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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